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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,                :     Civil No. 1:16-CV-2145
                                             :
      Plaintiff                              :     (Chief Judge Conner)
                                             :
v.                                           :     (Magistrate Judge Carlson)
                                             :
THE MILTON HERSHEY SCHOOL                    :
AND SCHOOL TRUST, et al.,                    :
                                             :
      Defendants                             :

                                     ORDER

      This case was referred to the undersigned for resolution of various discovery

disputes. One of these discovery issues related to the Defendants’ compliance with

the Plaintiffs’ Revised Interrogatory No. 8, which sought additional numeric

information relating to the Plaintiffs’ theory that the Defendants had a policy of

“discarding” students from the Milton Hershey School (“School”) after multiple

admissions to an outside mental health facility. Specifically, from among the two

groups of students that were previously identified as having two or more

hospitalizations between 2011 and 2013, the Plaintiffs sought the number of

students that were hospitalized for mental health treatment on more than two

occasions as well as the number of students that returned to the School. Because

the parties were unable to agree on the appropriateness of these discovery requests,
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we ordered the Defendants to provide these records to the Court for in camera

inspection.

      We have now conducted this in camera review. The information submitted

to the Court by the Defendants consists of two single-page spreadsheets. The first

spreadsheet lists the number of hospitalizations for each of the three students that

were identified as having been terminated from the School. The second

spreadsheet lists the number of hospitalizations, number of students placed on

leave, and number of students who returned to the School from among the five

students that had multiple mental health hospitalizations but were not terminated

by the School. We have conducted a review of these spreadsheets, with particular

attention paid to the Defendants’ concerns that disclosure of this numeric

information is not relevant to the issues in the case and that disclosure of the

information would potentially infringe upon these students’ interest in protecting

the confidentiality of their medical information. After carefully considering these

arguments, we conclude that the information contained in the two spreadsheets is

sufficiently relevant to the issues and theories in this case and would not infringe

upon the students’ confidentiality. Therefore, we shall order the disclosure of these

two spreadsheets, subject to the following two caveats.

      First, given this Court’s prior admonition that it will not permit the

discovery process to become a “slippery slope” of endless discovery requests for

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additional data concerning these students, and in light of the comprehensive nature

of the response prepared by the Defendants to the Plaintiffs’ Revised Interrogatory

No. 8, the Court does not anticipate the Plaintiffs requesting any additional

information about these students. In the unlikely event that the Plaintiffs deem it

necessary to seek even more information beyond the substantial disclosures

already made by the Defendants here, the Court would only consider such a

request upon a showing that the Plaintiffs have a compelling interest in obtaining

the additional information sought.1

      Second, the Defendants have requested that the release of this information

be subject to the existing Qualified Protective Order that has been entered in this

case and thus only used for the litigation purposes outlined in that Protective

Order. The Court deems this request to be wholly appropriate.

      Accordingly, IT IS ORDERED that the Defendants’ responses to the

Plaintiffs’ Revised Interrogatory No. 8, supplied to the Court for in camera

inspection, are to be produced to the Plaintiffs subject to the terms of the existing


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  The Defendants wished to condition the disclosure of their response on this Court
ordering that the Plaintiffs make no further inquiry or discovery requests relating to
this student data or otherwise relating to the Plaintiffs’ Revised Interrogatory No.
8. While we note the Defendants’ concerns that further disclosure of student
information would likely jeopardize the students’ confidentiality, and we do not
see why any further disclosures are necessary at this point, we decline to absolutely
foreclose the possibility some unforeseen circumstance warranting further inquiry
by the Plaintiffs related to this subject, while noting that any additional requests
would be judged against an exacting standard.
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Qualified Protective Order that has been entered in this case. It is further ordered

that any additional discovery requests made by the Plaintiffs in relation to their

Revised Interrogatory No. 8 will be denied absent a showing of a compelling

interest in obtaining the additional information sought.

   So ordered this 26th day of April, 2018.



                                       /s/ Martin C. Carlson
                                       Magistrate Judge Carlson
                                       United States Magistrate Judge




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